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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                              8:00CR150
                                    )
            v.                      )
                                    )
MICHAEL SWAIN,                      )                               ORDER
                                    )
                  Defendant.        )
____________________________________)


               On September 6, 2007, the defendant appeared with counsel for a hearing on a

Petition for Warrant or Summons for Offender Under Supervision (Filing No. 306). Defendant

was present and represented by David O’Neill, Assistant Federal Public Defender. Plaintiff was

represented by Susan T. Lehr, Assistant United States Attorney. Defendant admitted to the

allegations of the Petition. The Court found the defendant to be in violation of his conditions of

supervised release. The Court revoked the defendant’s supervised release and proceeded to

sentencing. Accordingly,

               IT IS ORDERED:

               1) Defendant’s supervised release is hereby revoked, and the defendant is

sentenced to the custody of the Bureau of Prisons for a term of six (6) months.
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              2. Upon completion of said sentence, the defendant’s supervised release will be

terminated.

              DATED this 6th day of September, 2007.

                                           BY THE COURT:

                                           /s/ Lyle E. Strom

                                           LYLE E. STROM, Senior Judge
                                           United States District Court




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                        ACKNOWLEDGMENT OF RECEIPT


I hereby acknowledge receipt of a copy of this judgment this ____ day
of ____________, 200___.


                                                _____________________________
                                                  Signature of Defendant


                                    RETURN

It is hereby acknowledged that the defendant was delivered on the ____
day of _______________, 200__ to _________________________________,
with a certified copy of this judgment.


                                            __________________________________
                                                  UNITED STATES WARDEN


                                     By:__________________________________


NOTE: The following certificate must also be completed if the
defendant has not signed the Acknowledgment of Receipt, above.

                               CERTIFICATE


It is hereby certified that a copy of this judgment was served upon
the defendant this ____ day of _______________, 200___.


                                            __________________________________
                                                  UNITED STATES WARDEN


                                     By:__________________________________




                                      -3-
